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                    EXHIBIT E
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                                                                                                          Email
                                                                                                          Reger@fr.com

                         Re:    Research In Motion v. Eastman Kodak Company
              ~                 USDC-N.D. TX - 3:08-cv-02075-K

          a tlan ta      Dear Mark:
            au s tin
                         In the Scheduling Order in this case, the Court ordered that all motions for leave to
           b o s ton
                         amend pleadings must be filed by December 1. As such, and as I’ve noted several
            da l las
                         times, RIM expects to file a Motion for Leave to Amend its Complaint to add
        de la war e      additional facts and defenses. At the same time, even while not a pleading, RIM
         h ou s ton      plans to file a Motion for Leave to Amend its Invalidity Contentions. These
           m un ich      amendments will be based on information learned from Kodak after the respective
        n e w yor k
                         filing or service; please let me know by Wednesday if RIM can file these motions as
                         unopposed.
       s an di ego

 s i l ico n va l le y   The Amended Complaint will add a licensing defense, a patent exhaustion defense,
     t wi n c i ti e s   and add further details to unenforceability defenses. Turning first to the licensing and
wa sh in gton , dc       patent exhaustion defenses, there should be little doubt that post-filing discovery
                         included issues related to licenses.1 Recently, the Parties conferred on various
                         production disputes, including licenses in Kodak’s possession.               During the
                         conference, I again noted – and your most recent letter acknowledged – that RIM
                         expected to amend its Complaint based on these licenses. While Kodak agreed to
                         produce many of the remaining licenses by November 24, RIM has a good faith basis
                         to add these defenses based on certain licenses received with Kodak’s recent
                         productions.

                         With respect to the unenforceability claims, RIM will amend its Complaint to add
                         new facts learned through discovery related the “camera patents.” For example,
                         Kodak produced some written responses and discovery from other litigations that
                         involve undisclosed information about prosecution of one or more of the camera
                         patents. Kodak also produced some written responses and other discovery from this
                         litigation that involve undisclosed information about prosecution of one or more of
                         the camera patents. Further, RIM took depositions of a few named inventors of these

                         1
                                If more details are desired, please refer to my letter of November 2.


                                                                                                        Pl. App. No. 76
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           patents who discussed undisclosed information about one or more of the camera
           patents. Please let me know if Kodak will oppose our Motion for Leave to Amend
           the Complaint.

           The Supplemental Invalidity Contentions will i) chart Kodak production and
           information against the ’335 Patent; and ii) chart Kodak production from the Sun
           litigation against the ’161 Patent. RIM has continued to diligently and in good faith
           pursue additional prior art, namely that in the custody or control of Kodak. First,
           RIM served prior art discovery requests on Kodak nearly four months before RIM’s
           contentions were due. Second, RIM explicitly incorporated by reference all prior
           from other litigations and proceedings involving one or more of the patents-in-suit.
           When questioned on this, I explained that:

                  RIM document requests from four months ago specifically requested
                  prior art from other actions. Yet, to date, I am aware of no prior art
                  lists or § 282 notices, no charts, no prior art documentation, and no
                  expert reports from other litigations, such as the pending ITC action,
                  that have been produced by Kodak. Because of Kodak’s failure, which
                  should provide good cause for RIM to supplement its invalidity
                  contentions, RIM’s invalidity contentions specifically “incorporates by
                  reference all prior art identified by Sun in Civil Action No. 02-cv-
                  6074T, as well as all prior art from ITC Inv. No. 337-TA-663 attached
                  hereto as Exhibit E.” And RIM attached Exhibit E from that pending
                  ITC action, from which Kodak has yet to produce any information.
                  Further, despite the late hour, RIM charted a number of these
                  references, including 4,837,628 to Sasaki, 5,173,779 to Lee, 5,067,019
                  to Juday, 4,774,562 to Chen, and JP04-035181 to Tsukamoto. With
                  that in mind, RIM expects Kodak to produce the requested prior and
                  co-pending litigation documents, including deposition transcripts and
                  expert reports, by August 10, 2009.

           Third, RIM deposed several named inventors and immediately notified Kodak of its
           intent to supplement the invalidity contentions with facts learned through testimony
           and concurrent production of documents by Kodak. Specifically, the morning after
           RIM deposed Mr. Vogel, I sent the following email to you and Ms. Clune:

                  We are continuing to review the recent production of 100,000 pages by
                  Kodak (representing over 1/3 of the total production by Kodak). That
                  being said, in view of

                          1) this production of 100,000 pages by Kodak,




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                           2) the below additional designations by Kodak of prior art and
                   other pre-filing activities (these new designations come three months
                   after Kodak’s initial designations and one month after RIM’s
                   invalidity contentions), and

                           3) the depositions over the past two weeks of Kodak employees
                   listed as inventors on the 335 patent (Mr. Parulski and Mr. Vogel),

                   RIM expects to supplement its invalidity contentions to the 335 patent
                   to provide further detail on Kodak projects, programs, and products
                   (needless to say, the prior art is already known to Kodak). Please let
                   me know if Kodak opposes this supplement. If so, then I request that
                   we promptly conduct the meet and confer so that RIM can file its
                   Motion in support of the supplement.

                   On a related note, please let me know when RIM will receive Kodak’s
                   production of prior art identified by earlier litigants and licensees, such
                   as Sun. These outstanding documents were requested by RIM back in
                   March and, as I mentioned in my letter a few weeks ago, will
                   potentially be used to further supplement our invalidity contentions.

           No opposition was voiced to RIM’s amending the Invalidity Contentions on the ’335
           Patent. And just before RIM’s deposition of Mr. Khoyi, Kodak produced 5 disks of
           prior art identified by Sun with respect to the ’161 Patent.2 At the opening of this
           deposition, I put into the record that:

                   RIM recently received an offer to review 94 boxes of materials from a
                   prior litigation involving a patent at issue in this deposition. We also
                   yesterday received five disks of materials from that same patent
                   litigation. We have been asking for the materials since March. We
                   haven’t had an opportunity to review the boxes or the disks of
                   materials.

                   My understanding is the disks include prior art references that we
                   expect to review and likely supplement our invalidity contentions.3

           Accordingly, RIM believes that it has good cause and will request that the Court grant
           leave for RIM amend its Invalidity Contentions.


           2
                   This production was two months after RIM served its invalidity contentions and six months
           after RIM’s first set of document requests (see, e.g., No. 59 “Identify and produce all prior art
           produced in all Kodak lawsuits and proceedings involving the Patents-at-Issue.”).
           3
                   See Deposition of Dana Khoyi, Page 7:11 to 7:22.


                                                                                           Pl. App. No. 78
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           In short, RIM believes that it has good cause to make both amendments and that it has
           provided due notice to Kodak, particularly given that the information came from
           Kodak. If Kodak does not oppose the motions, then RIM will file a simple
           unopposed motion for each.4 Please let me know if Kodak will oppose either motion
           by noon on Wednesday, November 25.

           Very truly yours,




           Thomas H. Reger II




           4
                    For example, with respect to the Invalidity Contentions, RIM would file an unopposed motion
           that would simply state that the newly discovered prior art references were not known to RIM prior to
           service of the contentions despite diligence in seeking out the references pursuant to P.R. 3-7.


                                                                                              Pl. App. No. 79
